EXHIBIT
  SIX
                                                                                              Fulton County Superior Court
                                                                                                           ***EFILED***NY
                                                                                                 Date: 8/16/2023 12:49 PM
                                                                                                      Che Alexander, Clerk

                 IN THE SUPERIOR COURT OF FULTON COUNTY
                             STATE OF GEORGIA
STATE OF GEORGIA                        |
                                        |    CASE NO.
v.                                      |
                                        |    23SC188947
DONALD JOHN TRUMP,                      |
RUDOLPH WILLIAM LOUIS GIULIANI,         |
JOHN CHARLES EASTMAN,                   |
MARK RANDALL MEADOWS,                   |
KENNETH JOHN CHESEBRO,                  |
JEFFREY BOSSERT CLARK,                  |
JENNA LYNN ELLIS,                       |
RAY STALLINGS SMITH III,                |
ROBERT DAVID CHEELEY,                   |
MICHAEL A. ROMAN,                       |
DAVID JAMES SHAFER,                     |
SHAWN MICAH TRESHER STILL,              |
STEPHEN CLIFFGARD LEE,                  |
HARRISON WILLIAM PRESCOTT FLOYD,        |
TREVIAN C. KUTTI,                       |
SIDNEY KATHERINE POWELL,                |
CATHLEEN ALSTON LATHAM,                 |
SCOTT GRAHAM HALL,                      |
MISTY HAMPTON a/k/a EMILY MISTY HAYES |
     Defendants.                        |


                   MOTION FOR ENTRY OF PRETRIAL SCHEDULING ORDER

        COMES NOW, the State of Georgia, by and through Fulton County District Attorney

Fani T. Willis, and requests this Honorable Court enter a pretrial scheduling order governing the

deadlines for 23SC188947, State of Georgia v. Donald John Trump et al.

        In light of Defendant Donald John Trump’s other criminal and civil matters pending in

the courts of our sister sovereigns1, the State of Georgia proposes certain deadlines that do not

conflict with these other courts’ already-scheduled hearings and trial dates. Further, the proposed


1
  United States of America v. Donald J. Trump, 1:23-CR-00257-TSC (D. D.C.); United States of America v. Donald
J. Trump et al., 9:23-CR-80101-AMC (S.D. Fl.); People of the State of New York v. Donald J. Trump, 71543-23 (S.
Ct. N.Y. Cty., N.Y.); People of the State of New York v. Donald J. Trump et al., 451685/2020 (S. Ct. N.Y. Cty.,
N.Y.).


                          23SC188947 - Motion for Entry of Pretrial Scheduling Order
dates are requested so as to allow the Defendants’ needs to review discovery and prepare for trial

but also to protect the State of Georgia’s and the public’s interest in a prompt resolution of the

charges for which the Defendants have been indicted. The State attaches to this Motion a

proposed Pretrial Scheduling Order for the Court’s consideration containing the State’s proposed

deadlines and other relevant dates.

       Respectfully submitted this 16th day of August, 2023.

                                                         FANI T. WILLIS
                                                         District Attorney
                                                         Atlanta Judicial Circuit


                                                         By:
                                                         /s/Nathan J. Wade
                                                         Nathan J. Wade
                                                         Georgia Bar No. 390947
                                                         Special Prosecutor
                                                         Fulton County District Attorney’s Office
                                                         136 Pryor Street SW
                                                         3rd Floor
                                                         Atlanta, GA 30303




                        23SC188947 - Motion for Entry of Pretrial Scheduling Order
                      IN THE SUPERIOR COURT OF FULTON COUNTY
                                  STATE OF GEORGIA

STATE OF GEORGIA                      |
                                      |                      CASE NO.
v.                                    |
                                      |                      23SC188947
DONALD JOHN TRUMP,                    |
RUDOLPH WILLIAM LOUIS GIULIANI,       |
JOHN CHARLES EASTMAN,                 |
MARK RANDALL MEADOWS,                 |
KENNETH JOHN CHESEBRO,                |
JEFFREY BOSSERT CLARK,                |
JENNA LYNN ELLIS,                     |
RAY STALLINGS SMITH III,              |
ROBERT DAVID CHEELEY,                 |
MICHAEL A. ROMAN,                     |
DAVID JAMES SHAFER,                   |
SHAWN MICAH TRESHER STILL,            |
STEPHEN CLIFFGARD LEE,                |
HARRISON WILLIAM PRESCOTT FLOYD,      |
TREVIAN C. KUTTI,                     |
SIDNEY KATHERINE POWELL,              |
CATHLEEN ALSTON LATHAM,               |
SCOTT GRAHAM HALL,                    |
MISTY HAMPTON a/k/a EMILY MISTY HAYES |
     Defendants.                      |


                        [PROPOSED] PRETRIAL SCHEDULING ORDER

       The following proposed Order shall govern this criminal case. Absent express permission

from the Court, no exceptions, extensions, or waivers to the requirements set forth herein are

allowed. The term “Defendant” refers to each of the named defendants individually.

       A. ARRAIGNMENT:

          1. Arraignment for the various Defendants shall take place the week of September 5,

              2023.




                              23SC188947 – Pretrial Scheduling Order
  2. The Clerk of Fulton County Superior Court shall mail to each Defendant and his/her

     counsel, if applicable, notice of this date at least five days prior to this date, pursuant

     to Georgia law.

B. DISCOVERY:

  1. Defendant has until 10 days after arraignment to opt into reciprocal discovery as

     set forth in O.C.G.A. § 17-16-1 et. seq.

  2. If Defendant elects to participate in reciprocal discovery pursuant to O.C.G.A. §

     17-16-1 et. seq, all parties shall serve discovery materials then in its possession

     upon opposing counsel no later than September 29, 2023. Any additional discovery

     shall be provided to opposing counsel on a rolling basis and as soon as practicable

     once available within the time frames as set forth in O.C.G.A. § 17-16-4. If

     Defendant procures new counsel, it shall be the duty of the original attorney for the

     Defendant to provide all discovery served upon him/her to the new attorney.

C. MOTIONS HEARINGS:

  1. All demurrers and claims of immunity are to be filed within ten (10) days of

     arraignment in accordance with O.C.G.A § 17-7-110.

  2. All particularized motions and notices, including but not limited to (a) motions to

     suppress and (b) notices of evidence of other crimes, wrongs, or acts (including,

     but not limited to, 404(b) notices) shall be filed on or before October 31, 2023.

  3. Hearings for motions filed by October 31 shall commence on December 11, 2023

     and continue until completion.

  4. Generalized and omnibus motions will not be considered by the Court. All motions

     shall specify, with particularity, the item, statement, and/or event at issue. Thus, for




                       23SC188947 – Pretrial Scheduling Order
           example, a motion to suppress any and all statements is insufficient: the motion

           must identify the specific statement the movant is seeking to suppress, as well as

           the theory of suppression.

       5. All motions in limine shall be filed at least five (5) days prior to the call of the trial.

    D. FINAL PRETRIAL CONFERENCE AND TRIAL DATES:

       1. The final pretrial conference shall be held on February 20, 2024.

       2. The trial shall commence on March 4, 2024.

EXTENSIONS OF DEADLINES MAY BE GRANTED WHEN REQUESTED IN
WRITING AND GOOD CAUSE IS SHOWN.




    SO ORDERED, this _____ day of _____________________, 2023.



                                           _____________________________
                                           SCOTT MCAFEE
                                           Fulton County Superior Court
                                           Atlanta Judicial Circuit




                             23SC188947 – Pretrial Scheduling Order
